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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 DONNA CURLING, et al.,                    :
                                           :
                                           :
       Plaintiffs,                         :
                                           :
 v.                                        :         CIVIL ACTION NO.
                                           :         1:17-cv-2989-AT
 BRAD RAFFENSPERGER, et al.,               :
                                           :
                                           :
       Defendants.                         :

                                       ORDER

      State Defendants on the evening of September 14, 2020 filed a response to

the Court’s pragmatic question regarding the state’s production of updated voter

data for precinct polling stations for the purpose of facilitating the established

emergency ballot process, in the event of power outages or equipment breakdown

in the operation of BMD and associated electronic voting equipment, including

pollbook check-in equipment and software. The Court’s question in essence

related to the feasibility of production of up to date precinct voter registration lists

for each precinct that included information reflecting which voters had cast

“absentee” ballots, whether these ballots were cast through the early voting process

in person or through the absentee ballot process by voters who choose to cast votes

not in person (i.e. by mail, drop box, or personal delivery to precinct). Defendants

went beyond this question in their response, arguing a number of legal defenses

and objections to the Court’s issuance of any relief pertaining to paper pollbook
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backups, which they contend exceeds the scope of the Plaintiffs’ claims. Each set

of Plaintiffs are authorized to respond in a brief not to exceed six pages, and are

directed also to respond directly to the question of the Court’s authority to grant

such relief based on the pleadings and motions in this case and the Court’s Order

of August 15, 2019 (Doc. 579). Plaintiffs should also address whether they in fact

seek relief, as an alternative to their request for a wholesale switch to hand-marked

paper ballots, tailored to facilitating the uniform implementation of the State’s

established emergency ballot process. Plaintiffs’ briefs shall be filed by 11:00 AM

on September 16, 2020.

      IT IS SO ORDERED this 15th day of September, 2020.



                                       _____________________________
                                       Amy Totenberg
                                       United States District Judge




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